
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks payment in the amount of $2,119.79 for medical services rendered to inmates in the custody of respondent atPruntytown Correctional Center, a facility of respondent.
Respondent, in its Answer, admits the validity of the claim, but states that the correct amount owed to claimant is $ 13 8.42. Respondent further states that there were insufficient funds in its appropriation for the fiscal year in question from which *237to pay the claim Claimant, having reviewed the Answer of the respondent, agrees that it will accept the amount of $138.42 as full and complete satisfaction of its claim.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
